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 SAIL 2004‐3


                        UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


 In re:                                            Chapter 11

 LEHMAN BROTHERS HOLDINGS INC., et                 Case No.: 08-13555 (SCC)
 al.
                                                   (Jointly Administered)
                              Debtors.


                      NOTICE OF OMNIBUS TRANSFER OF CLAIMS
                       PURSUANT TO FED. R. BANKR. P. 3001(e)(2)

 To:      U.S. Bank National Association, Assignor/Transferor
          111 Fillmore Ave. E
          St. Paul, MN 55107
          Attn: Corporate Trust Services

 Your claims relating to Lehman XS Trust Mortgage Pass-Through Certificates, Series 2007-5H
 (the “Trust”), as set forth in claim numbers 700065.01, 700065.02, 710052.01 and 710052.02
 (whether against Lehman Brothers Holdings Inc., Structured Asset Securities Corporation or
 otherwise) (the “Claims”), in the bankruptcy proceedings in the United States Bankruptcy Court
 for the Southern District of New York, Case No. 08-13555 (SCC), or any other court with
 jurisdiction over such proceedings, have been transferred to Nationstar Mortgage LLC,
 Assignee/Transferee (but solely to the extent of the portion of the Claims relating to the Trust).

 No action is required if you do not object to the transfer of your Claims. If you object to the
 transfer, within twenty-one (21) days of the date of this notice, you must file a written objection
 and provide written notice to the Assignee/Transferee:

 Nationstar Mortgage LLC, Assignee/Transferee
 8740 Lucent Boulevard, Suite 600
 Highlands Ranch, Colorado 80129
 Attention: Michele Olds




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                                   EVIDENCE OF TRANSFER

        U.S. Bank National Association, not individually but solely as trustee of the Trust (as

 defined below), its successors and assigns (collectively, “Assignor”), has hereby absolutely and

 unconditionally sold, conveyed, transferred, and assigned to Nationstar Mortgage LLC, its

 successors and assigns (collectively, “Assignee”), its claims relating to Structured Asset

 Investment Loan Trust Mortgage Pass-Through Certificates, Series 2004-3 (the “Trust”) as set

 forth in claim numbers 700065.01, 700065.02, 710052.01 and 710052.02 (whether against

 Lehman Brothers Holdings Inc., Structured Asset Securities Corporation or otherwise) (the

 “Claims”) in the bankruptcy proceedings in the United States Bankruptcy Court for the Southern

 District of New York, Case No. 08-13555 (SCC), or any other court with jurisdiction over such

 proceedings (but solely to the extent of the portion of the Claims relating to the Trust).

        Assignor hereby waives any notice or hearing requirements imposed by Rule 3001 of the

 Federal Rules of Bankruptcy Procedure, and stipulates that an order may be entered recognizing

 the assignment of the Claims as an unconditional assignment and Assignee as the valid owner of

 the Claims.

        IN WITNESS WHEREOF, the undersigned have duly executed this Evidence of

 Transfer of Claims by their duly-authorized representatives this 29th day of November, 2021.



                                   (Signatures on following page)
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 U.S. Bank National Association                       Nationstar Mortgage LLC
 solely in its capacity as trustee

 By:                                                  By:

 Name:     Nicholas C. Xeros                          Name:

 Title:   Assistant Vice President                   Title:




                          [SAIL 2004-3 Signature Page to Evidence of Transfer]
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 U.S. Bank National Association                 Nationstar Mortgage LLC
 solely in its capacity as trustee

 By:                                            By:

 Name:                                          Name:    Christine Baker

 Title:                                         Title:   Vice President
